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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA
GAINESVILLE DIVISION

WAYNE DOUGLAS COBB, as Co-
Administrator of the Estate of Jennifer
Autumn Cobb, deceased, and SUSAN
MOON COBB, as Co-Administrator of
the Estate of Jennifer Autumn Cobb,

CIVIL ACTION FILE

Plaintiffs, 2:23-CV-130-SCJ

V.

JEREMY “BOB” GREEN and YOUNG
MEN’S CHRISTIAN ASSOCIATION
OF GEORGIA’S PIEDMONT, INC.,

Defendants.

SECOND AMENDED SCHEDULING ORDER

The following Second Amended Scheduling order shall govern this case:

The discovery period ends, and discovery must be completed by October 24,
2024.

The time for holding any LR 16.3, NDGa., post-discovery settlement
conference and/or private mediation is extended to November 7, 2024.

If the LR 16.3, NDGa., post-discovery settlement conference and/or a private

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mediation does not resolve the case, then any motions for summary judgment and
motions to exclude experts upon which any motion for summary judgment relies
must be filed by December 6, 2024.

If no summary judgment motion is filed on December 6, 2024, then the
parties shall submit a proposed consolidated pre-trial order no later than January
10, 2025. Otherwise, the proposed consolidated pretrial order must be filed within
30 days after the Court’s ruling on any pending motions for summary judgment.

The time limits for adding parties, amending the pleadings, and filing other
motions are as set out in the Federal Rules of Civil Procedure and the Local Rules
of this Court.

IT IS SO ORDERED, this Uth day of July, 2024.

HONORABLE STEVE C. JONES
UNITED STATES DISTRICT JUDGE

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